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United States District Court PETERA, Moo
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BY

Rev. 5/2017 Prisoner Complaint

Eastern District of North Carolina TRIGECOURY EAERK
- Western Division DEP CLK

'20-(V-a7
Case No. 9: 70- (V-a
(To be filled out by Clerk’s Office only)

Donovan Moenetl (wiiliams

Inmate Number 805 to 0
(In the space above enter the full name(s) of the plaintiff{s).)
COMPLAINT
against- (Pro Se Prisoner) .
The Cita oF ate iah Jury Demand?
~ “ (Yes
C1 No

(in the space above enter the full name(s) of the defendant(s). If you cannot
Jit the names of all of the defendants in the space provided, please write
“see attached” in the space above and attach an additional sheet of paper
with the full list of names. The names listed in the above caption must be
identical to those contained in Section IV. Do not include addresses here.)

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and
the last four digits of a financial account number.

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L COMPLAINT

Indicate below the federal legal basis for your claim, if known. This form is designed primarily for
pro se prisoners challenging the constitutionality of their conditions of confinement, claims which
~ are often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a

“Bivens” action (against federal defendants).
[ 42US.C, § 1983 (state, county, or municipal defendants)

© = Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federa] defendants)

O Action under Federal Tort Claims Act (United States is the proper defendant; must have
presented claim in writing to the appropriate Federal agency and received a notice of final
denial of the claim pursuant to 28 U.S.C. § 2401(b))

Ul. PLAINTIFF INFORMATION

Donovan Moeneil Wi llfams
Name

LY560

Prisoner ID #
Wate County Detention Genter

Place of Detention
P.0.looy 2474

Institutional Address
Raleigh NC 170A

City State Zip Code
Il, PRISONER STATUS

Indicate whether you are a prisoner or other confined person as follows:

ey Pretrial detainee [1 State C) Federal
Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Hood

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IV. DEFENDANT(S) INFORMATION (Mvyiicipality)

Please list the following information for each defendant. If the correct information is not provided,
it could result in the delay or prevention of service. Make sure that the defendant(s) listed below
are identical to those contained in the above caption. Attach additional sheets of paper as

necessary.

Defendant 1: City oe Qgieigh
Name
Current Job Title
Current Work Address
_City State Zip Code

Capacity in which being sued: D Individual [Official D Both

Defendant 2:
Name

Current Job Title

Current Work Address

City oe State Zip Code

Capacity in which being sued: CF) Individual 0) Official 0 Both

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Defendant(s) Continued

Defendant 3:

Name

Current Job Title

Current Work Address

City State Zip Code

Capacity in which being sued: CD Individual 2) Official 0 Both

Defendant 4:

Name

Current Job Title

Current Work Address

* City ‘State - Zip Code

Capacity in which being sued: C0 Individual © Official C Both

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Vv. STATEMENT OF CLAIM

Place(s) of occurrence: Qaleian ING,

Date(s) of occurrence: _ AbD A014

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MINE Or degtading Porishment.

State here briefly the FACTS that support your case. Describe how each defendant was personally

involved in the alleged wrongful actions, state whether you were seat iy ingubed a as a result of -

those actions, and if so, state your injury and what medical attention was provided to you.

ay 4
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Where did It
happen to
you?

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What was
your
injury?

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VI. ADMINISTRATIVE PROCEDURES
Not suing a PriSeN or 3 ait.
WARNING: Prisoners must exhaust administrative procedures before filing an action in federal

" court about prison conditions. 42 U.S.C. § 1997e(a). Your case may be dismissed if you have not
exhausted your administrative remedies.
Have you filed a grievance concerning the facts relating to this complaint? Yes No
If no, explain why not:

This isnot asailJorisen suit, NiB

Is the grievance process completed?
If no, explain why not:
\\

OYes ONo

it

VII. RELIEF
State briefly what you want the court to do for you. Make no 70 legal arguments. Cite no cases or
statutes,
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VII. PRISONER’S LITIGATION HISTORY

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in forma pauperis

in federal court if that prisoner has “on three or more occasions, while incarcerated or detained
in any facility, brought an action or appeal in a court of the United States that was dismissed on
the grounds that it is frivolous, malicious, or fails to state a claim upon which relief maybe granted,
unless the prisoner is under imminent danger of serious physical injury.” 28
US.C. §1915(g).

Have you brought any other lawsuits in state or federal court while a
prisoner?

OYes €&£ No

If yes, how many?

Number each different lawsuit below and include the following:

e Name of case (including defendants’ names), court, and docket number

e Nature of claim made
e How did it end? (For example, if it was dismissed, appealed, or is still pending, explain

below.)

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IX. PLAINTIFF’S DECLARATION AND WARNING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such
as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported _
by existing law or by a nonfrivolous argument for extending or modifying existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery; and (4)
the complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with

the Clerk's Office may result in the dismissal of my case.

Each Plaintiff must sign and date the complaint and provide prison identification number and
prison address. '

LG /Ox tye

Dated . Plaintiff's Signature

Dofovan M. William £
Printed Name
“190560
Prison Identification #
Wwobt
HO bye 274 __ Raisian NC X760X
Prison Address City State Zip Code

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